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     West Hollywood, California 90038
 3   Tel: 617-928-1806
     Fax: 617-928-1802
 4   matt@bostonlawgroup.com

 5   Val Gurvits, Esq. (pro hac vice forthcoming)
     Boston Law Group, PC
 6   825 Beacon Street, Suite 20
     Newton Centre, Massachusetts 02459
 7   Tel: 617-928-1804
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 8   vgurvits@bostonlawgroup.com

 9   Attorneys for Non-Parties Accuracy Consulting Ltd.
     and Bitseller Expert Limited
10

11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12

13    JOHN HUEBNER and IRMIN LANGTON, on                 Case No. 3:14-cv-04735-VC
      behalf of themselves and other similarly situated,
14                                                       [Assigned to the Honorable Vince
         Plaintiffs,                                     Chhabria]
15
      vs.                                                 DECLARATION OF MATTHEW
16                                                        SHAYEFAR IN SUPPORT OF REPLY
      RADARIS, LLC, a Massachusetts limited               IN SUPPORT OF EMERGENCY
17    liability company;                                  MOTION FOR RELIEF FROM
      RADARIS AMERICA, INC., a Delaware                   DEFAULT JUDGMENT
18    corporation; and
      EDGAR LOPIN, an individual,
19
            Defendants.
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                                                     1
             Shayefar Reply Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
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 1                                     Declaration of Matthew Shayefar

 2   I, Matthew Shayefar, declare as follows:

 3          1.       My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney

 4   licensed in the Commonwealth of Massachusetts, the State of California and the State of Florida.

 5   I am counsel to the named Accuracy Consulting Ltd. (“Accuracy”) and Bitseller Expert Limited

 6   (“Bitseller,” and together with Accuracy, “Movants”). I am familiar with the facts herein and

 7   make this declaration from my own personal knowledge.

 8          2.       On Friday, March 2, 2018, I had a telephone conversation with Attorney Anthony

 9   J. Orshansky and Attorney Justin Kachadoorian, counsel for Plaintiffs in the above captioned

10   case. The phone call started at approximately 2:00pm Pacific Time and went until

11   approximately 2:30pm Pacific Time. During the call, I engaged in good faith discussions with

12   counsel regarding this dispute.

13          3.       Although we could not come to a resolution during the call, during the call, I

14   suggested that while the emergency motion is pending before the Court, that the radaris.com

15   domain name be immediately redirected back to the radaris.com website so as to mitigate the

16   damages that Bitseller was suffering at the time. However, counsel did not agree to do so while

17   we were on the phone.

18          4.       Even before filing the emergency motion, I requested that Plaintiffs’ counsel

19   redirect the website. Attached hereto as Exhibit 1 is a true and correct copy of a thread of emails

20   I had with Plaintiffs’ counsel.

21          5.       Later in the day of March 2, 2018, at approximately 4:11pm, Attorney

22   Kachadoorian proposed that they would redirect the website while the emergency motion was

23   pending. That email and follow-up discussions at also set forth in Exhibit 1 hereto.

24
                                                   2
           Shayefar Reply Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
                 Case 3:14-cv-04735-VC Document 59-1 Filed 03/16/18 Page 3 of 9




 1          6.       On March 15, 2018, I contacted the British Virgin Islands’ Financial Services

 2   Commission via telephone and asked them whether there existed a company on its books named

 3   “Accuracy Consulting Ltd.” They confirmed that the company does in fact exist, and that its

 4   Company Number is 1794948. On the same day I sent the Financial Services Commission a

 5   return to provide to me a certified certificate of incorporation for Accuracy Consulting Ltd., but

 6   as of the time of the filing of this document, I did not receive back from them the document.

 7

 8          I declare under penalty of perjury under the laws of the United States and the State of

 9   California that the foregoing is true and correct.

10          Executed on March 16, 2018, in West Hollywood, California.

11

12                                                        /s/ Matthew Shayefar
                                                              Matthew Shayefar
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                                                   3
           Shayefar Reply Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
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                      Exhibit
                        1
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Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC
Justin Kachadoorian <Justin@counselonegroup.com>                                      Sat, Mar 3, 2018 at 7:28 PM
To: Matthew Shayefar <matt@bostonlawgroup.com>, "Anthony J. Orshansky" <Anthony@counselonegroup.com>,
"Alexandria R. Kachadoorian" <Alexandria@counselonegroup.com>
Cc: Val Gurvits <vgurvits@bostonlawgroup.com>

 Matthew,

 This has been completed.

 Justin

 From: Ma hew Shayefar <matt@bostonlawgroup.com>
 Sent: Saturday, March 3, 2018 8:56:36 AM
 To: Jus n Kachadoorian; Anthony J. Orshansky; Alexandria R. Kachadoorian
 Cc: Val Gurvits
 Subject: RE: Emergency Mo on in Huebner v. Radaris 3:14-cv-04735-VC


 Hi Justin,


 Thank you for following up. I apologize for the delayed response, but it’s as a result differing time zones
 between me and my clients.


 My clients agree to your proposed temporary solution without prejudice to any of their rights. While the
 motion is pending before the judge, you may continue to hold the domain name in your name, however you
 will cease the redirect and instead reset the DNS to point back to the website as it was before. Accordingly,
 until such time as the court rules on the emergency motion (and even afterwards if the court rules in my
 clients’ favor) you agree to waive enforcement of the default judgment as it may have otherwise applied to
 my clients continuing to operate the website (this relates to your repeated statement that my clients are
 subject to the Court’s order and judgment, which we disagree with for reasons unnecessary for getting into at
 this point). And of course if the court rules in your favor, we will have to proceed accordingly.


 As I explained on our call, and as you acknowledge below, this is a step that will stem the short term losses
 being suffered by my clients and allow for there to even be a potential for any other form of resolution.


 If this comports with your understanding, please confirm and as soon as possible halt the redirect and reset
 the DNS to the previous values, which should be as follows:
          ns-957.awsdns-55.net
          ns-1186.awsdns-20.org
          ns-1859.awsdns-40.co.uk
          ns-60.awsdns-07.com
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I may be temporarily unavailable for the next few hours, but available the remainder of the day and
tomorrow if there are any issues. My co-counsel Val Gurvits, copied on this email, should also be available
should he be needed.


Very truly yours,


Matthew Shayefar


Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459
Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802

matt@bostonlawgroup.com

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mail: info@bostonlawgroup.com

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penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.




From: Justin Kachadoorian <Justin@counselonegroup.com>
Sent: Friday, March 2, 2018 4:12 PM
To: Matthew Shayefar <matt@bostonlawgroup.com>; Anthony J. Orshansky <Anthony@counselonegroup.com>;
Alexandria R. Kachadoorian <Alexandria@counselonegroup.com>
Cc: Val Gurvits <vgurvits@bostonlawgroup.com>
Subject: RE: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC



Matthew,



Following up on our call today, I want to emphasize that I strongly disagree with the points raised in your emergency
motion and specifically that we perpetrated any kind of fraud or misrepresentation on your clients or the Court. As I have
expressed, your clients were in active concert or participation with the defendants in this action and are therefore subject
to the Court’s order and judgment.



I propose a temporary solution pending the Court’s decision that should assuage your clients’ concerns in the short term.
Plaintiffs will undo the redirect of radaris.com but the class will retain ownership of the domain name pending a decision
by the Court of your clients’ motion. This is our attempt to show our good faith in trying to cooperate with you to resolve
this matter favorably for all parties. As I said during our call, I remain committed to working through a resolution over the
next week or even over this weekend, whether with or without the assistance of a mediator.



Regards,

Justin
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From: Matthew Shayefar [mailto:matt@bostonlawgroup.com]
Sent: Thursday, March 01, 2018 5:35 PM
To: Anthony J. Orshansky <Anthony@counselonegroup.com>; Alexandria R. Kachadoorian
<Alexandria@counselonegroup.com>; Justin Kachadoorian <Justin@counselonegroup.com>
Cc: Val Gurvits <vgurvits@bostonlawgroup.com>
Subject: Re: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC



Okay, I will await your call. You can reach me on the number below.

Matthew Shayefar

617-928-1806

Sent from my mobile device. Please excuse brevity.




From: Justin Kachadoorian <Justin@counselonegroup.com>
Sent: Thursday, March 1, 2018 5:27:33 PM
To: Matthew Shayefar; Anthony J. Orshansky; Alexandria R. Kachadoorian
Cc: Val Gurvits
Subject: Re: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC



Tomorrow at 2 pm works.


Justin

From: Matthew Shayefar <matt@bostonlawgroup.com>
Sent: Thursday, March 1, 2018 3:04:01 PM
To: Justin Kachadoorian; Anthony J. Orshansky; Alexandria R. Kachadoorian
Cc: Val Gurvits
Subject: RE: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC



Hi Justin,


I’m available to speak today until 345pm, and also have an open calendar tomorrow. Let me know when is a
good time for you to speak.


Best,


Matthew Shayefar


Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459
Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
                        Case 3:14-cv-04735-VC Document 59-1 Filed 03/16/18 Page 8 of 9
matt@bostonlawgroup.com

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mail: info@bostonlawgroup.com

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penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.




From: Justin Kachadoorian [mailto:Justin@counselonegroup.com]
Sent: Thursday, March 01, 2018 2:06 PM
To: Matthew Shayefar <matt@bostonlawgroup.com>; Anthony J. Orshansky
<Anthony@counselonegroup.com>; Alexandria R. Kachadoorian <Alexandria@counselonegroup.
com>
Cc: Val Gurvits <vgurvits@bostonlawgroup.com>
Subject: Re: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC


Matthew,


I have been traveling most of the week. Let me know if you want to set up a time to talk tomorrow
afternoon.


Regards,
Justin




From: Matthew Shayefar <matt@bostonlawgroup.com>
Sent: Wednesday, February 28, 2018 2:54:11 PM
To: Justin Kachadoorian; Anthony J. Orshansky; Alexandria R. Kachadoorian
Cc: Val Gurvits
Subject: Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC


Dear Counsel,


We have been retained by Accuracy Consulting Ltd. and Bitseller Expert Limited in connection with
the radaris.com domain name and website.


As you are certainly aware, Accuracy Consulting Ltd. was the domain name registrant for
the radaris.com domain name and Bitseller Expert Limited was the operator of the website
at radaris.com until recently when the domain name and website were transferred to your control pursuant
to the default judgment received in Huebner v. Radaris LLC et al., Case No. 3:14-cv-04735-VC, pending in
               Case 3:14-cv-04735-VC Document 59-1 Filed 03/16/18 Page 9 of 9
the United States District Court for the Northern District of California. As you further know, the domain
name and website were taken out of their control just earlier this week.


Because our clients were never named as parties to the litigation, and were never served in the litigation, the
taking of their property without due process is a violation of their rights. Furthermore, the taking of their
property has caused them substantial damage which grows on a minute by minute basis.


Accordingly, unless otherwise resolved, we will be moving on an emergency basis for relief from the default
judgment order. We are hereby providing you notice out our intent to seek emergency relief pursuant to
Judge Chhabria’s Standing Order for Civil Cases.


We are certain, and the written record will show, that Plaintiffs have improperly withheld from and
misrepresented to the Court important information about the proper owner and operator of radaris.com in
violation of their Rule 11 obligations. We therefore demand that you immediately transfer
the radaris.com domain name back to Accuracy Consulting Ltd.’s domain name account with euroDNS,
from where you fraudulently transferred it through abuse of legal process.


Will you consent to the immediate return of the domain name and website?


Your prompt response to this email is appreciated.


Very truly yours,


Matthew Shayefar


Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459
Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802

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penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.
